Case 19-27166-CMG            Doc 9     Filed 10/14/19 Entered 10/14/19 11:07:45                 Desc Main
                                       Document      Page 1 of 1

                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY


In Re:                                                    Case No.:             19-27166
                                                                           __________________
Edward L Casey                                            Chapter:                  7
                                                                           __________________
                                                          Judge:                  CMG
                                                                           __________________


                             NOTICE OF PROPOSED ABANDONMENT

              Barry W. Frost
__________________________________,            Chapter 7 Trustee in this case proposes to abandon
                                             ____________________
property of the estate described below as being of inconsequential value. If you object to the
abandonment, you must file a written objection with the Clerk of the United States Bankruptcy Court and
serve it on the party named below not later than 7 days before the hearing date.

 Address of the Clerk: Clarkson S. Fisher US Courthouse
                         402 East State Street
                         Trenton, NJ 08608



                                                                                        Christine M. Gravelle
If an objection is filed, a hearing will be held before the Honorable _______________________________
       November 12, 2019 at ________a.m.
on ______________________               10:00           at the United States Bankruptcy Court, Courtroom no.
     3
________. (Hearing date must be at least 28 days from the date of this notice). If no objection is filed, the
abandonment shall take effect on entry by the clerk of a Certification of No Objection.
 Description and value of property: 7 Cliffside Drive
                                      Stewardsville, NJ
                                      Value: $320,000.00



 Liens on property:                   Bank of NY Mellon
                                      $694,679.94




 Amount of equity claimed as exempt: $0.00



Objections must be served on, and requests for additional information directed to:

Name:           Barry W. Frost, Chapter 7 Trustee
                ________________________________________________________________________
Address:        3131 Princeton Pike, Bldg 5, Suite 110
                ________________________________________________________________________
               (609) 890-1500
Telephone No.: ________________________________________________________________________

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